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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

Robert Ross, Individually,                  :    Consolidated Case Nos.
and on behalf of all others                      2:05-cv-0819
similarly situated,                         :    2:05-cv-0848
                                                 2:05-cv-0879
             Plaintiff,                     :    2:05-cv-0893
                                                 2:05-cv-0913
      v.                                     :   2:05-cv-0959

Abercrombie & Fitch Company,                :
et al.,
                                             :   JUDGE SARGUS
             Defendants.
                                             :


                                     ORDER
           These class action securities cases are before the Court
to consider defendants’ motion to compel discovery.               The motion
relates to certain contention interrogatories served on October
28 and 30, 2009, to which defendants wanted answers no later than
January 8, 2010.      Although that date has passed, the Court agrees
that defendants are entitled to answers - and plaintiffs do not
disagree with that fundamental premise, only with the timing of
those responses.      For the following reasons, the Court will
establish a date for responding to the remaining contention
interrogatories and will also extend the case schedule.
      The two sets of contention interrogatories at issue include
58 separate inquiries.        The parties did make an extrajudicial
effort to resolve this matter, and plaintiffs agreed to provide
answers to some of the interrogatories.            In particular, they
expressed a willingness to answer questions asking them to
identify the alleged material false statements, misleading
statements, or omissions upon which their Rule 10b-5 claim is
based and to identify the fact witnesses they will call at trial.
However, they did not agree to provide immediate answers to the
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remainder.     As plaintiffs characterizes them, the 44 remaining
interrogatories at issue ask plaintiffs to advise defendants of
the facts that they intend to use to prove scienter, materiality,
reliance, damages, and violations of §20(a) of the 1934 Act.
Plaintiffs claim the interrogatories relating to the §20(a) claim
are overly broad and not narrowly tailored to the circumstances
of this case.      With respect to the scienter and materiality
interrogatories, plaintiffs point out that the key depositions in
this case have yet to be taken, and that they are not in a
position to answer these interrogatories now with any
specificity. Were they to do so, they would simply have to
supplement those answers after they take these depositions.
Finally, they argue that the interrogatories going to the
elements of reliance and damages cannot be answered at this time
because their proof on these issues will come through expert
witnesses, and the time has not yet come for the identification
of such witnesses or the exchange of expert reports.               Defendants
argue, however, that they need all of this information
immediately because fact discovery is scheduled to close at the
end of February, and if they do not get the answers they have
requested until after the plaintiffs take the depositions, there
will be no time left for them to conduct discovery on those
issues.
      The Court sees no value in having plaintiffs answer most of
these contention interrogatories in advance of the depositions of
the defendants’ key witnesses.          While it is undoubtedly true that
plaintiffs must have some information that supports their
allegations of scienter and materiality, that information would
be incomplete without testimony from the persons who allegedly
were responsible for the statements or omissions that form the
basis of their claims.        That is one reason why contention
interrogatories are generally deferred to the end of the


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discovery period, and why their primary purpose is to narrow the
issues for trial rather than providing the foundation for
substantial follow-on discovery.          See, e.g., In re Northfield
Laboratories Inc. Securities Litigation, ___ F.R.D. ___, 2009 WL
4639678 (N.D. Ill. December 8, 2009).            Further, it seems likely
that the bulk of plaintiffs’ case on the issues of reliance and
damages will (in this particular type of case) be presented
through expert testimony.         See, e.g., RMED Intern. v. Sloan’s
Supermarkets, 2000 WL 310352, *3 (S.D. N.Y. March 24, 2000)
(detailing subjects of proposed expert testimony in a “fraud on
the market” case as including “materiality, causation and
damages”).     Presumably, plaintiffs’ expert reports (which are not
yet due) will disclose in great detail their position on these
issues, and their depositions will allow defendants to explore
additional detail.       Although expert witness disclosure dates have
not been set, the Court anticipates that those dates will provide
for a staggered disclosure regimen, so that defendants will have
the plaintiffs’ expert reports in hand before they are required
to identify their responsive experts.            Having contention
interrogatories answered on those issues now rather than later
(or at all, depending on how comprehensive the expert reports
will be) would not seem to be a productive enterprise.
      Additionally, the Court is not persuaded that defendants
need all of these interrogatories answered immediately so that
they can then schedule their depositions prior to the discovery
cutoff date.     As mentioned above, providing information such as
the names of witnesses with knowledge of the relevant facts is
not the ordinary function of contention interrogatories.                That is
the stuff of initial disclosures or basic initial
interrogatories.      Further, plaintiffs have agreed to answer the
interrogatories asking them to identify their fact witnesses.
Defendants have not adequately explained why they need the


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additional responses they seek simply in order to decide whether
to take depositions or whom to depose.
      For all of these reasons, the Court denies the motion to
compel (#363) to the extent that it seeks an order directing
plaintiffs to answer these interrogatories immediately.                However,
in order to address some of the concerns articulated by the
defendants in their motion, the Court directs the parties to
confer about dates for answering the materiality and scienter
interrogatories which are tied to the completion of the key
depositions on these issues, and to propose an extension of the
fact discovery cutoff that will allow defendants some time to
identify fact witnesses to depose on these issues after they
receive the responses.        In the Court’s view, that should not have
an impact on the scheduling of expert witness disclosures or the
completion of all discovery in the case.            It will also provide
plaintiffs with the opportunity to conduct some additional
discovery should the Court’s order concerning the Special
Litigation Committee Report take effect and allow plaintiffs
access to that report and all of the underlying documentation.
      Any party may, within fourteen days after this Order is
filed, file and serve on the opposing party a motion for
reconsideration by a District Judge.           28 U.S.C. §636(b)(1)(A),
Rule 72(a), Fed. R. Civ. P.; Eastern Division Order No. 91-3, pt.
I., F., 5.     The motion must specifically designate the order or
part in question and the basis for any objection.               Responses to
objections are due fourteen days after objections are filed and
replies by the objecting party are due seven days thereafter.
The District Judge, upon consideration of the motion, shall set
aside any part of this Order found to be clearly erroneous or
contrary to law.
      This order is in full force and effect, notwithstanding the
filing of any objections, unless stayed by the Magistrate Judge


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or District Judge.       S.D. Ohio L.R. 72.4.




                               /s/ Terence P. Kemp
                               United States Magistrate Judge




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